     Case 2:14-cv-09327-RGK-AJW Document 12 Filed 02/20/15 Page 1 of 2 Page ID #:42



1     LAW OFFICES OF TODD M. FRIEDMAN, P.C.
2     Todd M. Friedman, Esq. (SBN: 216752)
      tfriedman@attorneysforconsumers.com
3
      324 S. Beverly Dr., #725
4     Beverly Hills, CA 90212
5
      Telephone: (877) 206-4741
      Facsimile: (866) 633-0228
6     Attorney for Plaintiff
7
                          UNITED STATES DISTRICT COURT
8
                         CENTRAL DISTRICT OF CALIFORNIA
9
      ANN FOX, individually and on behalf ) Case No. 2:14-cv-09327-RGK-AJW
10
      of all others similarly situated,   )
11                                        ) NOTICE OF SETTLEMENT
      Plaintiff(s)                        )
12
                                          )
13           vs.
                                          )
14                                        )
      NCSPLUS INCORPORATED,
                                          )
15
      Defendant.                          )
16
            NOW COMES THE PLAINTIFF by and through her attorney to
17

18    respectfully notify this Honorable Court that this case has settled. Plaintiff
19
      requests that this Honorable Court vacate all pending hearing dates and allow
20

21    sixty (60) days with which to file dispositive documentation. A Voluntary Notice
22
      of Dismissal will be forthcoming. This Court shall retain jurisdiction over this
23
      matter until fully resolved.
24

25                              Respectfully submitted this 20th day of February, 2015.
26
                                           By: s/Todd M. Friedman
27
                                              TODD M. FRIEDMAN
28                                            Law Offices of Todd M. Friedman, P.C.
                                              Attorney for Plaintiff


                                       Notice of Settlement - 1
     Case 2:14-cv-09327-RGK-AJW Document 12 Filed 02/20/15 Page 2 of 2 Page ID #:43



1     Filed electronically on this 20th day of February, 2015, with:
2
      United States District Court CM/ECF system
3

4     Notification sent electronically via the Court’s ECF system to:
5
      Honorable R. Gary Klausner
6     United States District Court
7     Central District of California
8
      And sent via mail to:
9
      Katherine Olson
10
      Messer, Stilp & Strickler, Ltd.
11    166 W. Washington St., Suite 300
12    Chicago, Illinois 60602
13

14    This 20th day of February, 2015.
15
      s/Todd M. Friedman
16    Todd M. Friedman
17

18

19

20

21

22

23

24

25

26

27

28




                                         Notice of Settlement - 2
